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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

UNITED STATES OF AMERICA

Vv. Cr. No. 18-10450-MLW
ERICK LOPEZ FLORES,
HENRI SALVADOR GUTIERREZ,
ELISEO VAQUERANO CANAS,
JONATHAN TERCERO YANES,
MARLOS REYES, and
DJAVIER DUGGINS,
Defendants.

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MEMORANDUM AND ORDER

 

WOLF, D.J. August 19, 2020

For the reasons explained more fully at the August 17, 2020
hearing, it is hereby ORDERED that:

1. Defendant Henri Salvador Gutierrez's Motion to Dismiss
the Superseding Indictment (Dkt. No. 133) is DENIED. The
Superseding Indictment alleges that the MS-13 "enterprise was
engaged in, and its activities affected, interstate and foreign
commerce." See Docket No. 83, 7. This description of the
interstate or foreign commerce element is adequate to survive a
facial challenge because it “use[s] the words of the relevant
criminal statute." United States v. Wells, 766 F.2d 12, 22 (list
Cir. 1985); see also United States v. Rodriguez-Torres, 939 F.3d

16, 27-28 (lst Cir. 2019) (citing United States v. Doherty, 867

 

F.2d 47, 68 (1st Cir. 1989)).
 

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Defendant's motion to dismiss is addressed to the sufficiency
of the evidence the government plans to introduce in support of
the interstate or foreign commerce element of the 18 U.S.C.
§1962 (d) RICO conspiracy charge. However, generally, "when a
defendant seeks dismissal of the indictment, the question is not
whether the government has presented enough evidence to support
the charge, but solely whether the allegations in the indictment
are sufficient to apprise the defendant of the charged offense."
United States v. Stepanets, 879 F.3d 367, 372 (lst Cir. 2018)
(quotations and citations omitted). As denying the motion, as the
government requests, will not adversely affect its right to appeal,
and deciding whether to grant the motion before trial would require
"more than a de minimis review" of the evidence concerning whether
the activities of MS-13 affected interstate or foreign commerce,
there is good cause to defer a ruling on the adequacy of that
evidence until trial in the context of a motion for acquittal
pursuant to Federal Rule of Criminal Procedure 29; United States
v. Barletta, 644 F.2d 50, 58-59 (1st Cir. 1981). See also Fed. R.
Crim. P. 12(d). The court is exercising its discretion to do so.

Tf defendant does not believe that he has adequate information
concerning the government's theory concerning interstate of
foreign commerce, he may move for a bill of particulars. See, €.g.,

United States v. Paiva, 892 F.2d 148, 154 (lst Cir. 1989).

 

 
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2. Salvador Gutierrez's Motion to Strike Surplusage from
the Superseding Indictment and for Ancillary Relief (Dkt. No. 134)
is DENIED. "Motions to strike surplusage from an indictment will
be granted only where the challenged allegations are not relevant
to the crime charged and are inflammatory and prejudicial." United
States v. Scarpa, 913 F.2d 993, 1013 (2d Cir. 1990) (quotation and
citation omitted). "The determinative question in a motion to
Strike surplusage is not the prejudice, but the relevance of the

allegation to the crime charged." United States v. Sawyer, 878 F.

 

Supp. 279, 294 (D. Mass. 1995) (citing United States v. Gambale,

 

610 F. Supp. 1515, 1542-43 (D. Mass. 1985)). Where the allegations
are relevant, such as where they "serve to identify the enterprise
and the means by which" the enterprise operates, striking is

inappropriate. United States v. Urso, 369 F. Supp. 2d 254, 270

 

(E.D.N.Y. 2005); see also United States v. Berroa, 856 F.3d i141,
157 (lst Cir. 2017). Here, the challenged allegations in the
Superseding Indictment concern the nature of the MS-13 enterprise,
and the means and methods by which it operates, which are relevant
to proving elements of the RICO conspiracy charged. These
allegations are not made in an inflammatory manner. Therefore,
they are not "Surplusage.”

3. The court is not now ordering Salvador Gutierrez to
submit to a competency examination because there is not reasonable

cause to believe that he is unable to understand the nature and
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consequences of the proceedings against him or to assist properly
in his defense. See 18 U.S.C. §4241(a). Nor is the court ordering
an evaluation of Salvador Gutierrez for any other purpose because
the government has not requested such an examination. See Fed. R.
Crim. P. 12.2(c)(1)(B). Counsel for Salvador Gutierrez shail
inform the court immediately if he discerns in the future any
reason to question defendant's competency to stand trial.

4, After consulting Eliseo Vaquerano Canas, his counsel
shall, by August 18, 2020, confirm her representation that he does
not assert that my recusal is required by 28 U.S.C. §455(a) or (b)
and, waives, pursuant to 28 U.S.C. §455(e), any ground for
disqualification under §455(a) based on my disclosures regarding
Adolescent Consultation Services. Defendant Jonathan Terceo Yanes
shall also, by August 18, 2020, confirm that he too waives any
claim that my recusal is required by §455(a).

5. Any motion to extend the deadline for the government or
defendant Djavier Duggins to file motions in limine, motions to
suppress, or motions to dismiss shall be filed by August 20, 2020.

6. The parties shall order the transcript of the August 17,

2020 hearing.

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UNITED™“STATES DISTRICT JU
